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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    ADAPTIVE SPECTRUM AND SIGNAL
    ALIGNMENT, INC.,

                           Plaintiff,
                  v.                              Case No. 2:24-cv-124-JRG-RSP

    CHARTER COMMUNICATIONS, INC,

                           Defendant.



                       THIRD AMENDED DOCKET CONTROL ORDER

          In accordance with the Parties’ Joint Motion to Amend The Second Docket Control

Order (Dkt. No. 90), the following schedule of deadlines is in effect until further order of this

Court:

         Original                  New Deadline                         Event
       Deadline (First
       Amended DCO,
        Dkt. No. 40)

      September 22,        No change                   *Jury Selection – 9:00 a.m. in Marshall,
      2025                                             Texas

      7 days before Jury   No change                   *Defendant to disclose final invalidity
      Selection                                        theories,      final       prior    art
                                                       references/combinations,     and  final
                                                       equitable defenses with notice of the
                                                       same filed with the Court. 1




1
 The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
Jury Selection,” and shall not include a specific date.




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      10 days before    No change                     *Plaintiff to disclose final election of
      Jury Selection                                  Asserted Claims with notice of the same
                                                      filed with the Court.2


      August 25, 2025   No change                     *If a juror questionnaire is to be used, an
                                                      editable (in Microsoft Word format)
                                                      questionnaire shall be jointly submitted
                                                      to the Deputy Clerk in Charge by this
                                                      date.3

      August 18, 2025   No change                     *Pretrial Conference – 9:00 a.m. in
                                                      Marshall, Texas before Judge Roy
                                                      Payne

      August 11, 2025   No change                     *Notify Court of Agreements Reached
                                                      During Meet and Confer

                                                      The parties are ordered to meet and
                                                      confer on any outstanding objections or
                                                      motions in limine. The parties shall
                                                      advise the Court of any agreements
                                                      reached no later than 1:00 p.m. three (3)
                                                      business days before the pretrial
                                                      conference.

      August 11, 2025   No change                     *File Joint Pretrial Order, Joint Proposed
                                                      Jury Instructions, Joint Proposed Verdict
                                                      Form, Responses to Motions in Limine,
                                                      Updated Exhibit Lists, Updated Witness
                                                      Lists,    and      Updated      Deposition
                                                      Designations




2
 Given the Court’s past experiences with litigants dropping claims and defenses during or on the
eve of trial, the Court is of the opinion that these additional deadlines are necessary. The
proposed DCO shall include this specific deadline. The deadline shall read, “10 days before Jury
Selection,” and shall not include a specific date.
3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
in Advance of Voir Dire.


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      August 4, 2025   No change                 *File Notice of Request for Daily
                                                 Transcript or Real Time Reporting.

                                                 If a daily transcript or real time reporting
                                                 of court proceedings is requested for trial,
                                                 the party or parties making said request
                                                 shall file a notice with the Court and e-
                                                 mail the Court Reporter, Shawn
                                                 McRoberts,                                 at
                                                 shawn_mcroberts@txed.uscourts.gov.

      July 29, 2025    August 4, 2025            File Motions in Limine

                                                 The parties shall limit their motions in
                                                 limine to issues that if improperly
                                                 introduced at trial would be so prejudicial
                                                 that the Court could not alleviate the
                                                 prejudice     by     giving    appropriate
                                                 instructions to the jury.

      July 29, 2025    August 4, 2025            Serve Objections to Rebuttal Pretrial
                                                 Disclosures

      July 22, 2025    July 28, 2025             Serve Objections to Pretrial Disclosures;
                                                 and Serve Rebuttal Pretrial Disclosures

      July 10, 2025    July 15, 2025             Serve Pretrial Disclosures (Witness List,
                                                 Deposition Designations, and Exhibit
                                                 List) by the Party with the Burden of
                                                 Proof

      June 16, 2025    July 8, 2025              *File Motions to Strike Expert
                                                 Testimony (including Daubert Motions)

                                                 No motion to strike expert testimony
                                                 (including a Daubert motion) may be
                                                 filed after this date without leave of the
                                                 Court.




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      June 16, 2025      July 8, 2025              *File Dispositive Motions

                                                   No dispositive motion may be filed after
                                                   this date without leave of the Court.

                                                   Motions shall comply with Local Rule
                                                   CV-56 and Local Rule CV-7. Motions to
                                                   extend page limits will only be granted in
                                                   exceptional circumstances. Exceptional
                                                   circumstances require more than
                                                   agreement among the parties.

      June 10, 2025      July 1, 2025              Deadline to Complete Expert Discovery

      May 27, 2025       June 20, 2025             Serve Disclosures for Rebuttal Expert
                                                   Witnesses

      April 29, 2025     May 20, 2025              Serve Disclosures for Expert Witnesses
                                                   by the Party with the Burden of Proof

      April 29, 2025     May 20, 2025              Defendants to serve Final Election of
                                                   Asserted Prior Art pursuant to the Order
                                                   Focusing Patent Claims and Prior Art to
                                                   Reduce Costs

      April 22, 2025     May 20, 2025              Deadline to Exchange Privilege Logs

      April 15, 2025     May 13, 2025              Plaintiff to serve Final Election of
                                                   Asserted Claims pursuant to the Order
                                                   Focusing Patent Claims and Prior Art to
                                                   Reduce Costs

      April 15, 2025     May 13, 2025              Deadline to Complete Fact Discovery
                                                   and File Motions to Compel Discovery




      April 9, 2025      No change                 Comply with P.R. 3-7 (Opinion of
                                                   Counsel Defenses)

      2 Weeks after      No change                 Submit Joint Notice Indicating Whether
      Court’s Issuance                             the Case Should be Referred for
      of Claim                                     Mediation
      Construction
      Order



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      March 19, 2025    No change                       *Claim Construction Hearing – 9:00am
                                                        in Marshall before Judge Roy Payne

      March 12, 2025    No change                       Defendants to serve Preliminary Election
                                                        of Asserted Prior Art pursuant to the
                                                        Order Focusing Patent Claims and Prior
                                                        Art to Reduce Costs
  (*) indicates a deadline that cannot be changed without an acceptable showing of good
  cause. Good cause is not shown merely by indicating that the parties agree that the deadline
  should be changed.

                              ADDITIONAL REQUIREMENTS

          Mediation: While certain cases may benefit from mediation, such may not be
  appropriate for every case. The Court finds that the Parties are best suited to evaluate
  whether mediation will benefit the case after the issuance of the Court’s claim construction
  order. Accordingly, the Court ORDERS the Parties to file a Joint Notice indicating whether
  the case should be referred for mediation within fourteen days of the issuance of the
  Court’s claim construction order. As a part of such Joint Notice, the Parties should
  indicate whether they have a mutually agreeable mediator for the Court to consider. If the
  Parties disagree about whether mediation is appropriate, the Parties should set forth a brief
  statement of their competing positions in the Joint Notice.

          Summary Judgment Motions, Motions to Strike Expert Testimony, and
  Daubert Motions: For each motion, the moving party shall provide the Court with two (2)
  hard copies of the completed briefing (opening motion, response, reply, and if applicable,
  sur-reply), excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents
  shall be single-sided and must include the CM/ECF header. These copies shall be delivered
  to the Court within three (3) business days after briefing has completed. For expert-related
  motions, complete digital copies of the relevant expert report(s) and accompanying exhibits
  shall be submitted on a single flash drive to the Court. Complete digital copies of the expert
  report(s) shall be delivered to the Court no later than the dispositive motion deadline.

          Indefiniteness: In lieu of early motions for summary judgment, the parties are
  directed to include any arguments related to the issue of indefiniteness in their Markman
  briefing, subject to the local rules’ normal page limits.
          Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides
  that “[o]n the first appearance through counsel, each party shall designate a lead attorney on
  the pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only
  be changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from
  the Court an Order granting leave to designate different lead counsel. The true lead counsel
  should be designated early and should not expect to parachute in as lead once the case has
  been largely developed.

          Motions for Continuance: The following will not warrant a continuance nor justify
  a failure to comply with the discovery deadline:

  (a)      The fact that there are motions for summary judgment or motions to dismiss pending;
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  (b)     The fact that one or more of the attorneys is set for trial in another court on the same
          day, unless the other setting was made prior to the date of this order or was made as
          a special provision for the parties in the other case;

  (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate
          that it was impossible to complete discovery despite their good faith effort to do so.

          Amendments to the Docket Control Order (“DCO”): Any motion to alter any
  date on the DCO shall take the form of a motion to amend the DCO. The motion to amend
  the DCO shall include a proposed order that lists all of the remaining dates in one column
  (as above) and the proposed changes to each date in an additional adjacent column (if there
  is no change for a date the proposed date column should remain blank or indicate that it is
  unchanged). In other words, the DCO in the proposed order should be complete such that
  one can clearly see all the remaining deadlines and the changes, if any, to those deadlines,
  rather than needing to also refer to an earlier version of the DCO.

         Proposed DCO: The Parties’ Proposed DCO should also follow the format
  described above under “Amendments to the Docket Control Order (‘DCO’).”

            Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
   Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial.
   The Plaintiff shall also specify the nature of each theory of infringement, including under
   which subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff
  .alleges divided infringement or infringement under the doctrine of equivalents. Each
   Defendant shall indicate the nature of each theory of invalidity, including invalidity for
   anticipation, obviousness, subject-matter eligibility, written description, enablement, or any
   other basis for invalidity. The Defendant shall also specify each prior art reference or
   combination of references upon which the Defendant shall rely at trial, with respect to each
   theory of invalidity. Other than as set forth in the above deadlines, the contentions of the
   Parties may not be amended, supplemented, or dropped without leave of the Court based
   upon a showing of good cause. The Parties in a case which has been consolidated for pre-
   trial purposes and which is moving towards a separate trial on the merits (subsequent to pre-
   trial) shall file, as an exhibit to the parties’ Joint Pretrial Order, a list identifying all docket
   entries from the lead case that relate to the applicable member case.

          Trial: All parties must appear in person at trial. All non-individual (including but
  not limited to corporate) parties must appear at trial through the presence in person of a
  designated representative. Once they have appeared, any representative of a non-individual
  shall not be replaced or substituted without express leave of Court.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 16th day of March, 2025.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE


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